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                             Exhibit 1

                      Reply Brief in Support of
                      Mohamed Ali Mushayt’s
           Motion to Dismiss the Third Amended Complaint

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